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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1104V
                                        (not to be published)


    LOUIE WORTHY,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: September 14, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


John P. Valente, III, The Valente Law Group, Crofton, MD, for Petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On July 30, 2018, Louie Worthy filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that he suffered Guillain-Barré syndrome and paralysis caused-
in-fact by the influenza vaccine he received on September 9, 2016. (Petition at 1, ¶¶ 2,
8). On June 10, 2020, a decision was issued awarding compensation to Petitioner based
on the parties’ stipulation. (ECF No. 41).




1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated July 14, 2020,
(ECF No. 45), requesting a total award of $32,726.89 (representing $23,522.65 in fees
and $9,204.24 in costs). In accordance with General Order No. 9, Petitioner filed a signed
statement indicating that he not incurred no out-of-pocket expenses. (ECF No. 48-1).
Respondent reacted to the motion on July 27, 2020, stating that he is satisfied that the
statutory requirements for an award of attorney’s fees and costs are met in this case, and
deferring calculation of the amount to be awarded to my discretion. Petitioner did not file
a reply thereafter

       I have reviewed the billing records submitted with Petitioner’s requests, and find a
reduction in the amount of fees to be awarded appropriate, for the reason listed below.

                                        ANALYSIS

        The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Counsel must submit fee requests that include contemporaneous and specific
billing records indicating the service performed, the number of hours expended on the
service, and the name of the person performing the service. See Savin v. Sec’y of Health
& Human Servs., 85 Fed. Cl. 313, 316-18 (2008). Counsel should not include in their fee
requests hours that are “excessive, redundant, or otherwise unnecessary.” Saxton v.
Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)). It is “well within the special master’s discretion to
reduce the hours to a number that, in [her] experience and judgment, [is] reasonable for
the work done.” Id. at 1522. Furthermore, the special master may reduce a fee request
sua sponte, apart from objections raised by respondent and without providing a petitioner
notice and opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 86
Fed. Cl. 201, 209 (2009). A special master need not engage in a line-by-line analysis of
petitioner’s fee application when reducing fees. Broekelschen v. Sec’y of Health & Human
Servs., 102 Fed. Cl. 719, 729 (2011).

       The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Human Servs., 24 Cl.
Ct. at 482, 484 (1991). The Petitioner “should present adequate proof [of the attorney’s
fees and costs sought] at the time of the submission.” Wasson, 24 Cl. Ct. at 484 n.1.
Petitioner’s counsel “should make a good faith effort to exclude from a fee request hours
that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private
practice ethically is obligated to exclude such hours from his fee submission.” Hensley,
461 U.S., at 434.

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                                           ATTORNEY FEES


                  A. Administrative Time

         Upon review of the billing records submitted, it appears that a number of entries
are for tasks considered clerical or administrative. In the Vaccine Program, secretarial
work “should be considered as normal overhead office costs included within the attorney’s
fee rates.” Rochester v. U.S., 18 Cl. Ct. 379, 387 (1989); Dingle v. Sec’y of Health &
Human Servs., No. 08-579V, 2014 WL 630473, at *4 (Fed. Cl. Spec. Mstr. Jan. 24, 2014).
“[B]illing for clerical and other secretarial work is not permitted in the Vaccine Program.”
Mostovoy, 2016 WL 720969, at *5 (citing Rochester, 18 Cl. Ct. at 387). A total of 1.9 hours
was billed on tasks considered administrative including, scanning documents, creating
binders, and mailing documents. Examples of the tasks include:

              •   January 5, 2017 (1.75 hrs) “Create medical records binder”;

              •   July 9, 2018 (2 hrs) “Paginated and scanned all Exhibits to be filed”;

              •   November 27, 2018 (4 hrs) “Refile/Paginate Exhibits 2,071 pages to comply
                  with Court’s order”; and

              •   October 9, 2019 (2 hrs) “Paginated and scanned all Exhibits to be filed.”

Because the Program does not reimburse such administrative tasks, I will reduce the
amount of fees to be awarded by $336.50. 3

                                          ATTORNEY COSTS

      Petitioner is requesting $9,204.24 in overall costs, including but not limited to
medical records, shipping and copying costs. (ECF No. 44-2 at 2). I have reviewed all the
requested costs and find them to be reasonable, l award the requested amount in full.




                                             CONCLUSION

3   This amount consists of ($290 x 0.6 hrs = $174) + ($125 x 1.3 hrs = $162.50) = $336.50.

                                                     3
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       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $32,390.39 (representing $23,186.15 in fees and $9,204.24 in costs) as
a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 4
